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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – – –X
                                                NOTICE OF APPEARANCE
UNITED STATES OF AMERICA
                                                15-CR-00637 (KAM)
       - against -

MARTIN SHKRELI and
EVAN GREEBEL,

                      Defendants.

– – – – – – – – – – – – – – – –X

                                NOTICE OF APPEARANCE

               PLEASE TAKE NOTICE that Assistant United States Attorney Alixandra E.

Smith from this point forward will be added as counsel in the above-captioned matter.

               All future correspondence to the United States in the above-captioned matter

should be sent to:

               Assistant U.S. Attorney Alixandra E. Smith
               United States Attorney’s Office (Criminal Division)
               271 Cadman Plaza East, 5th Floor
               Brooklyn, New York 11201
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               Email: alixandra.smith@usdoj.gov
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              In addition, the Clerk of the Court is respectfully requested to ensure that all

future ECF notifications are sent to Assistant United States Attorney Alixandra E. Smith at

the email address set forth above.


Dated: Brooklyn, New York
       December 17, 2015
                                                Respectfully submitted,

                                                ROBERT L. CAPERS
                                                United States Attorney

                                        By:     /s/ Alixandra E. Smith
                                                Alixandra E. Smith
                                                Assistant U.S. Attorney

cc:    Clerk of the Court (KAM)
